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                          UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF KENTUCKY
                               LOUISVILLE DIVISION
                                 Electronically Filed

ALEETA POWE,                                  )
                                              )
               Plaintiff,                     )
                                              )
       vs.                                    )       CASE NO. 3:24-cv-00220-RGJ
                                              )
UNIVERSITY OF LOUISVILLE                      )
                                              )
                                              )
                                              )
                                              )
               Defendant.                     )
                                              )

  PLAINTIFF’S FIRST AMENDED COMPLAINT AND DEMAND FOR JURY TRIAL

                               I.      NATURE OF THE CASE

       1.      This is an action brought by Plaintiff Aleeta Powe (“Powe”), by counsel, against

Defendant, University of Louisville (“Defendant”), for violating Title VII of the Civil Rights Act

of 1964 (“Title VII”), as amended, 42 U.S.C. §2000e et. seq. and the Kentucky Civil Rights Act

(“KCRA”).

                                        II.       PARTIES

       2.      Powe, at all relevant times to this litigation, resided within Jefferson County,

Kentucky, within the geographical boundaries of the Western District of Kentucky.

       3.      Defendant maintains offices and routinely conducts business within the

geographic boundaries of the Western District of Kentucky.

       4.      The events that form the basis of this Complaint occurred in Jefferson County,

Kentucky, within the geographical boundaries of the Western District of Kentucky.




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                                   III.     JURISDICTION AND VENUE

        5.      Jurisdiction is conferred on this Court over the subject matter of this litigation

pursuant to 28 U.S.C. §1331; 28 U.S.C. §1343; 28 U.S.C. §1367; 29 U.S.C. §626 and 42 U.S.C.

§ 2000e-5(f)(3).

        6.      Jurisdiction is conferred on Powe’s state law claims pursuant to 29 U.S.C. § 1367

because her state law claims arise from the same common nucleus of operative facts as her

federal law claims and all of his claims form a single case and controversy under Article III of

the United States Constitution.

        7.      Defendant has eight (8) or more employees with the State of Kentucky in each of

twenty (20) or more calendar weeks in the current or proceeding calendar year and, as such, an

“employer” as that term is defined by KRS344.030(2) and 42 U.S.C. §2000e(b).

        8.      At all times relevant to this action, Powe was an “employee,” as that term is

defined by KRS344.030(5) and 42 U.S.C. §2000e(f).

        9.      Powe satisfied her obligation to exhaust her administrative remedies, having

timely filed a Charge of Discrimination (Charge No. 474-2023-00934) (“Charge”)(attached

hereto as “Exhibit A”) with the U.S. Equal Employment Opportunity Commission (“EEOC”)

against the Defendant alleging discrimination based on her sex and race and retaliation for

engaging in a protected activity. Powe filed her EEOC Charge on September 20, 2023. Powe’s

Charge describes multiple discriminatory incidents, indicating ongoing harassment, with the

most recent discriminatory event occurring on November 28, 2022 (within 300 days of the date

on which Powe filed her Charge).1 Powe received the required Notice of her Right to Sue on

January 11, 2024, and timely files this action.


1 See U.S. Equal Employment Opportunity Commission, Time Limits for Filing a Charge: Ongoing Harassment,

WWW.EEOC.GOV, https://www.eeoc.gov/time-limits-filing-charge (last visited May 1, 2024), providing, “In

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         8.       A substantial part of the events, transactions, and occurrences relevant to this

lawsuit arose within the geographical environs of the Western District of Kentucky; thus, the

venue is proper in this Court.

                                   IV.      FACTUAL ALLEGATIONS

         9.       Powe, a Black female, began working for Defendant on or around August 8,

2005, as an Assistant Professor in the Chemistry Department. The Defendant has an Instructional

or Term Faculty and Research Faculty. Powe is considered a “Term” Faculty Member.

         10.      At all relevant times, Powe met or exceeded Defendant’s legitimate performance

expectations.

         11.      In or around Late August 2022, faculty members voted Powe in as the Chemistry

Department Chair, and the Interim Dean appointed her to the position. After her appointment as

Department Chair, Professor Richard Baldwin (“Baldwin”), a Caucasian Male individual,

searched the A&S College’s by-laws for a way to have Powe’s new appointment revoked.

         12.      Within the by-laws, Baldwin found that “Term” Faculty were not eligible to vote

on Department personnel matters. Baldwin’s position was a pretext for racial discrimination as it

reflected policies that were not adhered to within the department in the previous (8) years nor

across the entire University.

         13.      In or around September 2022, Baldwin succeeded in obtaining a revote and found

a way to remove the faculty members who originally voted for Powe, namely “Term” faculty

members. Baldwin won the revote and took over as Department Chair.




harassment cases, you must file your charge within 180 or 300 days of the last incident of harassment, although we
will look at all incidents of harassment when investigating your charge, even if the earlier incidents happened more
than 180/300 days earlier.”

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       14.     In or around October 2022, Baldwin told Powe that he intentionally searched for

ways to prevent her from serving as Department Chair, stating that Powe could not “be the face

of the Department to the Nation.” Baldwin referred to Powe as a diversity hire, and he stated that

the Dean appointed her to Department Chair only because she is a Black individual.

       15.     On or around November 3, 2022, Baldwin resigned as the Department Chair, and

Powe held a vote to be considered for the position. Baldwin rallied against Powe and fought to

prevent her from being nominated.

       16.     On or around November 28, 2022, Powe was informed that she did not receive the

Chair position and that she was considered “unacceptable” to take the position.

       17.     On or around January 1, 2023, Dr. Richard Wittebort (“Wittebort”), a Caucasian

Male individual, was elected as Department Chair and remains as such.

       18.     In or around February 2023, Powe filed a grievance with Defendant demanding

(1) Baldwin be relieved of his faculty and leadership positions with no recognition as emeritus

faculty; (2) an official reprimand with public acknowledgment of Baldwin’s wrongdoing;

leadership training from the Dean; and for Powe to be appointed as Department Chair. The

matter was given to a grievance committee to review and present a finding for the Dean to

implement.

       19.     In or around August 2023, the grievance committee recommended against

removing Baldwin as a faculty member and agreed with reprimanding Baldwin for his

statements, providing training opportunities to improve the department’s culture, and strongly

agreed that Powe be appointed as Department Chair.




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       20.     In or around November 2023, Dean Dayna R. Touron reviewed Powe’s grievance

and failed/refused to implement any of the grievance committee’s recommendations, which

specifically includedappointing Powe to Department Chair.

       21.     On or around December 6, 2023, Powe was notified that a former student, Ava

Spellman (“Spellman”) filed a complaint against her.

       22.     During the hearing process, Powe discovered that Baldwin encouraged Spellman

to file a grievance against Powe. In the three years that Powe and Baldwin have worked together

on the Chemistry Departmental Student Complaint Committee, Baldwin has never encouraged a

student to file a grievance against another faculty member.

                                   V. CAUSES OF ACTION

               COUNT I: TITLE VII & KCRA - RACE DISCRIMINATION

       23.     Powe hereby incorporates paragraphs one (1) through twenty-two (22) of her

Complaint as if the same were set forth at length herein.

       24.     Powe is a Black individual, and is therefore a member of a protected class under

Title VII and the KCRA.

       25.     Powe’s 17 years of experience as a Chemistry faculty member qualified her for

the Chemistry Department Chair position. Based on Department practice for the eight (8)

preceding years, Powe was eligible for the position as a Term Faculty Member.

       26.     Powe’s appointment to the Department Chair position was revoked based on

pretextual reasons that were presented by an individual whose stated intent for pursuing the

revocation was based on Powe’s race and/or sex.

       27.     The individuals subsequently appointed to the Department Chair position were

both white males, and therefore outside of Powe’s protected class.



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       25.     Defendant has discriminated against and subjected Powe to disparate treatment

due to her race by upholding the revocation of Powe’s appointment to Department Chair and

appointing two white males to the position in her stead.

       26.     Defendant’s actions were intentional, willful, and taken in reckless disregard of

Powe’s rights as protected by Title VII and the KCRA.

       27.     Powe has suffered damages as a result of Defendant’s unlawful actions.

                COUNT II: TITLE VII & KCRA- SEX DISCRIMINATION

       28.     Powe hereby incorporates paragraphs one (1) through twenty-seven (27) of her

Complaint as if the same were set forth at length herein.

       29.     Powe identifies as a Female, and is therefore a member of a protected class under

Title VII and the KCRA.

       30.     Powe’s 17 years of experience as a Chemistry faculty member qualified her for

the Chemistry Department Chair position. Based on Department practice for the eight (8)

preceding years, Powe was eligible for the position as a Term Faculty Member.

       31.     Powe’s appointment to the Department Chair position was revoked based on

pretextual reasons that were presented by an individual whose stated intent for pursuing the

revocation was based on Powe’s race and/or sex.

       32.     The individuals subsequently appointed to the Department Chair position were

both white males, and therefore outside of Powe’s protected class.

       33.     Defendant has discriminated against and subjected Powe to disparate treatment

due to her sex by upholding the revocation of Powe’s appointment to Department Chair and

appointing two white males to the position in her stead.




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       34.     Defendant’s actions were intentional, willful, and taken in reckless disregard of

Powe’s rights as protected by Title VII and the KCRA.

       35.     Powe has suffered damages as a result of Defendant’s unlawful actions.

                     COUNT III: TITLE VII & KCRA- RETALIATION

       36.     Powe hereby incorporates paragraphs one (1) through thirty-five (35) of her

Complaint as if the same were set forth at length herein.

       34.     Powe filed a grievance against Defendant alleging gender and race discrimination.

This grievance was known to the Defendant.

       35.     Defendant retaliated against Powe by failing to implement the findings of the

grievance panel.

       36.     Defendant’s actions were intentional, willful, and taken in reckless disregard of

Powe’s rights as protected by Title VII and the KCRA.

       37.     Powe has suffered damages as a result of Defendant’s unlawful actions.

                                        REQUESTED RELIEF

               WHEREFORE, Plaintiff, Aleeta Powe, respectfully requests that this court enter

judgment in her favor and award her the following relief:

       1.      Award Plaintiff all wages, benefits, compensation, and other monetary loss

suffered as a result of Defendant’s unlawful actions;

       2.      Award Plaintiff compensation for any and all other damages suffered as a

consequence of Defendant’s unlawful actions;

       3.      Award Plaintiff compensatory damages for violations of Title VII and the KCRA;

       4.      Award Plaintiff punitive damages for violations of the Title VII and the KCRA;




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          5.     Award Plaintiff all costs and attorney’s fees incurred as a result of bringing this

action;

          6.     Award Plaintiff pre- and post-judgment interest on all sums recoverable; and

          7.     Award Plaintiff all other legal and/or equitable relief this Court sees fit to grant.




                                                Respectfully submitted,

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                                                Counsel for Plaintiff, Aleeta Powe



                                   DEMAND FOR JURY TRIAL

          Plaintiff, Aleeta Powe, by counsel, requests a trial by jury on all issues deemed so triable.

                                                Respectfully submitted,

                                                BIESECKER DUTKANYCH & MACER, LLC
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